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     Shari Rusk, Bar No. 170313
 1   Attorney at Law
     1710 Broadway, #111
 2   Sacramento, California 95818
     Tel: (916) 804-8656
 3   Fax: (916)731-4841
     Email: Rusklaw@aol.com
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 5
                         IN THE UNITED STATES DISTRICT COURT
 6
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8                                        ) Case No.: 2:08-cr-00178-MCE
     United States of America,            )
 9                                        )
                 Plaintiff,               )
10                                        ) STIPULATION AND ORDER TO CONTINUE
           vs.                            ) STATUS CONFERENCE
11                                        )
                                          ) Court: Hon. Morrison C. England
12   Barragan-Zepeda, et.al.              ) Time:   9:00 a.m.
                                          ) Date:   August 21, 2008
13               Defendants
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15

16         Defendants Fernando Barragan-Zepeda, Abraham Barragan-Zepeda,
17   Rigoberto Garafias-Barragan and Decideria Franco by and through their
18   undersigned counsel and the United States, by and through Assistant
19   United States Attorney Michael Beckwith, hereby agree and stipulate
20   that the status conference scheduled for June 12, 2008 be continued to
21   August 21, 2008.     The defendants are charged in a nine count
22   indictment with conspiracy to distribute methamphetamine.
23         This case is the result of a nationwide two year long wiretap
24   involving numerous defendants in different jurisdictions.      Discovery
25   is voluminous.     Counsel for Fernando Barragan-Zepeda has just been
26   informed of this case and does not yet have discovery.      Further
27   discovery is forthcoming as to all defendants.
28   ///




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 1        Due to the nature and complexity of this case, additional time is

 2   needed for the parties to review discovery and prepare the matter

 3   prior to the next status conference.      Therefore it is agreed that the

 4   matter be continued to August 21, 2008 for further status and that

 5   date is available with the Court.

 6        The parties agree that time should be excluded under 18 U.S.C. §

 7   3161(h)(8)(i) for complexity and defense preparation and under local

 8   code T4.

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     Dated: June 11, 2008              Respectfully submitted,
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13
                                       __/s/ Shari Rusk___
                                       Shari Rusk
14                                     Attorney for Defendant
                                       Fernando Barragen-Zepeda
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16                                     /s/ Lorie Teichert
                                       Lorie Teichert
17                                     Attorney for Defendant
                                       Decidera Franco
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19
                                       /s/ Gil Roque
20                                     Attorney for Defendant
                                       Rigoberto Garafias-Barragan
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22                                     /s/ Lexi Negin
                                       Lexi Negin
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                                       Attorney for Defendant
                                       Abraham Barragan-Zepeda
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                                                 /s/ Mike Beckwith
 1                                               Mike Beckwith
                                                 Assistant United States Attorney
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 3
                                         ORDER
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 5
              IT IS SO ORDERED.   The Court finds excludable time through August 21, 2008,
 6   based on Local Code T4, complexity and giving counsel reasonable time to prepare.

 7   Dated:    June 13, 2008

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                                             __________________________________
 9                                           MORRISON C. ENGLAND, JR
                                             UNITED STATES DISTRICT JUDGE
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